Case 2:25-cv-00377-MRP   Document 1-5   Filed 01/22/25   Page 1 of 29




            EXHIBIT B
      Case 2:25-cv-00377-MRP             Document 1-5        Filed 01/22/25      Page 2 of 29




UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------------------x
Bryce Martinez,                                                         :
                                                                        :
                                             Plaintiff,                 : Civil Action No._______
                                                                        :
v.                                                                      :
                                                                        :
Kraft Heinz Company, Inc.,                                              :
One PPG Place,                                                          :
Pittsburgh, Pennsylvania 15222                                          :
                                                                        : CONSENT TO REMOVAL
and                                                                     :
                                                                        :
Mondelez International, Inc.,                                           :
906 West Fulton Market, Suite 200,                                      :
Chicago, Illinois 60607                                                 :
                                                                        :
and                                                                     :
                                                                        :
Post Holdings, Inc.,                                                    :
2503 S. Hanley Road,                                                    :
St. Louis, Missouri 63144                                               :
                                                                        :
and                                                                     :
                                                                        :
The Coca-Cola Company,                                                  :
One Coca-Cola Plaza,                                                    :
Atlanta, Georgia 30313                                                  :
                                                                        :
and                                                                     :
                                                                        :
Pepsico, Inc.                                                           :
700 Anderson Hill Road,                                                 :
Purchase, New York 10577                                                :
                                                                        :
and                                                                     :
                                                                        :
General Mills, Inc.,                                                    :
Number One General Mills Boulevard,                                     :
Minneapolis, Minnesota 55426                                            :
                                                                        :
and                                                                     :
                                                                        :
Nestle USA, Inc.,                                                       :
       Case 2:25-cv-00377-MRP                 Document 1-5          Filed 01/22/25   Page 3 of 29




812 N. Moore Street,                                                    :
Arlington, Virginia, 22209                                              :
                                                                        :
and                                                                     :
                                                                        :
                                                                        :
Kellanova,                                                              :
412 N. Wells Street,                                                    :
Chicago, Illinois 60654                                                 :
                                                                        :
and                                                                     :
                                                                        :
WK Kellogg Co.,                                                         :
One Kellogg Square,                                                     :
Battle Creek, Michigan 49017                                            :
                                                                        :
and                                                                     :
                                                                        :
Mars Incorporated, Inc.,                                                :
6885 Elm Street,                                                        :
McLean, Virginia 22101                                                  :
                                                                        :
and                                                                     :
                                                                        :
Conagra Brands, Inc.,                                                   :
222 W. Merchandise Plaza, Suite 1300,                                   :
Chicago, Illinois 60654                                                 :
                                             Defendants.                :
------------------------------------------------------------------------x

        Defendant, Mondelēz International, Inc., consents to removal of the above-captioned

action to the United States District Court for the Eastern District of Pennsylvania.

Dated: January 22, 2025



                                                             Allison M. Brown
                                                             Skadden, Arps, Slate, Meagher & Flom LLP
                                                             One Manhattan West, New York, NY 10001
                                                             Telephone: (212) 735-3222
                                                             allison.brown@skadden.com
                                                             Attorneys for defendant Mondelēz
                                                             International, Inc.




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      Case 2:25-cv-00377-MRP             Document 1-5        Filed 01/22/25      Page 4 of 29




UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------------------x
Bryce Martinez,                                                         :
                                                                        :
                                             Plaintiff,                 : Civil Action No._______
                                                                        :
v.                                                                      :
                                                                        :
Kraft Heinz Company, Inc.,                                              :
One PPG Place,                                                          :
Pittsburgh, Pennsylvania 15222                                          :
                                                                        : CONSENT TO REMOVAL
and                                                                     :
                                                                        :
Mondelez International, Inc.,                                           :
906 West Fulton Market, Suite 200,                                      :
Chicago, Illinois 60607                                                 :
                                                                        :
and                                                                     :
                                                                        :
Post Holdings, Inc.,                                                    :
2503 S. Hanley Road,                                                    :
St. Louis, Missouri 63144                                               :
                                                                        :
and                                                                     :
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The Coca-Cola Company,                                                  :
One Coca-Cola Plaza,                                                    :
Atlanta, Georgia 30313                                                  :
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and                                                                     :
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Pepsico, Inc.                                                           :
700 Anderson Hill Road,                                                 :
Purchase, New York 10577                                                :
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and                                                                     :
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General Mills, Inc.,                                                    :
Number One General Mills Boulevard,                                     :
Minneapolis, Minnesota 55426                                            :
                                                                        :
and                                                                     :
                                                                        :
Nestle USA, Inc.,                                                       :
       Case 2:25-cv-00377-MRP                 Document 1-5          Filed 01/22/25     Page 5 of 29




812 N. Moore Street,                                                    :
Arlington, Virginia, 22209                                              :
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and                                                                     :
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Kellanova,                                                              :
412 N. Wells Street,                                                    :
Chicago, Illinois 60654                                                 :
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and                                                                     :
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WK Kellogg Co.,                                                         :
One Kellogg Square,                                                     :
Battle Creek, Michigan 49017                                            :
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and                                                                     :
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Mars Incorporated, Inc.,                                                :
6885 Elm Street,                                                        :
McLean, Virginia 22101                                                  :
                                                                        :
and                                                                     :
                                                                        :
Conagra Brands, Inc.,                                                   :
222 W. Merchandise Plaza, Suite 1300,                                   :
Chicago, Illinois 60654                                                 :
                                             Defendants.                :
------------------------------------------------------------------------x

        Defendant Post Holdings, Inc. hereby consents to the removal of the above-captioned

action to the United States District Court for the Eastern District of Pennsylvania filed by

Defendant, The Kraft Heinz Company (incorrectly named as “Kraft Heinz Company, Inc.”).


Dated: January 22, 2025                              FAEGRE DRINKER BIDDLE & REATH LLP

                                                     /s/ David F. Abernethy
                                                     David F. Abernethy (PA Bar ID 36666)
                                                     Email: david.abernethy@faegredrinker.com
                                                     One Logan Square, Suite 2000
                                                     Philadelphia, Pennsylvania 19103
                                                     Phone: (215) 988-2700

                                                     Counsel for Post Holdings, Inc.


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      Case 2:25-cv-00377-MRP             Document 1-5        Filed 01/22/25      Page 6 of 29




UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------------------x
Bryce Martinez,                                                         :
                                                                        :
                                             Plaintiff,                 : Civil Action No._______
                                                                        :
v.                                                                      :
                                                                        :
Kraft Heinz Company, Inc.,                                              :
One PPG Place,                                                          :
Pittsburgh, Pennsylvania 15222                                          :
                                                                        : CONSENT TO REMOVAL
and                                                                     :
                                                                        :
Mondelez International, Inc.,                                           :
906 West Fulton Market, Suite 200,                                      :
Chicago, Illinois 60607                                                 :
                                                                        :
and                                                                     :
                                                                        :
Post Holdings, Inc.,                                                    :
2503 S. Hanley Road,                                                    :
St. Louis, Missouri 63144                                               :
                                                                        :
and                                                                     :
                                                                        :
The Coca-Cola Company,                                                  :
One Coca-Cola Plaza,                                                    :
Atlanta, Georgia 30313                                                  :
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and                                                                     :
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Pepsico, Inc.                                                           :
700 Anderson Hill Road,                                                 :
Purchase, New York 10577                                                :
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and                                                                     :
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General Mills, Inc.,                                                    :
Number One General Mills Boulevard,                                     :
Minneapolis, Minnesota 55426                                            :
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and                                                                     :
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Nestle USA, Inc.,                                                       :
       Case 2:25-cv-00377-MRP                 Document 1-5          Filed 01/22/25   Page 7 of 29




812 N. Moore Street,                                                    :
Arlington, Virginia, 22209                                              :
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and                                                                     :
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Kellanova,                                                              :
412 N. Wells Street,                                                    :
Chicago, Illinois 60654                                                 :
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and                                                                     :
                                                                        :
WK Kellogg Co.,                                                         :
One Kellogg Square,                                                     :
Battle Creek, Michigan 49017                                            :
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and                                                                     :
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Mars Incorporated, Inc.,                                                :
6885 Elm Street,                                                        :
McLean, Virginia 22101                                                  :
                                                                        :
and                                                                     :
                                                                        :
Conagra Brands, Inc.,                                                   :
222 W. Merchandise Plaza, Suite 1300,                                   :
Chicago, Illinois 60654                                                 :
                                             Defendants.                :
------------------------------------------------------------------------x

        Defendant The Coca-Cola Company hereby consents to removal of the above-captioned

action to the United States District Court for the Eastern District of Pennsylvania.




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     Case 2:25-cv-00377-MRP   Document 1-5      Filed 01/22/25   Page 8 of 29




Dated: January 22, 2025


                                    HANGLEY ARONCHICK SEGAL PUDLIN &
                                    SCHILLER

                              By:   /s/ Mark A. Aronchick
                                    Mark A. Aronchick

                                    Mark A. Aronchick
                                    HANGLEY ARONCHICK SEGAL PUDLIN &
                                    SCHILLER
                                    One Logan Sq.
                                    27th Fl.
                                    Philadelphia, PA 19103
                                    215-568-6200
                                    Email: maronchick@hangley.com

                                    ANGELA M. SPIVEY (pro hac vice forthcoming)
                                    ANDREW G. PHILLIPS (pro hac vice
                                    forthcoming)
                                    JAMIE S. GEORGE (pro hac vice forthcoming)
                                    ALSTON & BIRD LLP
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                                    Atlanta, GA 30309-3424
                                    Telephone:     (404) 881-7000
                                    Facsimile:     (404) 881-7777
                                    E-mail:angela.spivey@alston.com
                                    andrew.phillips@alston.com
                                    jamie.george@alston.com




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      Case 2:25-cv-00377-MRP             Document 1-5        Filed 01/22/25      Page 9 of 29




UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------------------x
Bryce Martinez,                                                         :
                                                                        :
                                             Plaintiff,                 : Civil Action No._______
                                                                        :
v.                                                                      :
                                                                        :
Kraft Heinz Company, Inc.,                                              :
One PPG Place,                                                          :
Pittsburgh, Pennsylvania 15222                                          :
                                                                        : CONSENT TO REMOVAL
and                                                                     :
                                                                        :
Mondelez International, Inc.,                                           :
906 West Fulton Market, Suite 200,                                      :
Chicago, Illinois 60607                                                 :
                                                                        :
and                                                                     :
                                                                        :
Post Holdings, Inc.,                                                    :
2503 S. Hanley Road,                                                    :
St. Louis, Missouri 63144                                               :
                                                                        :
and                                                                     :
                                                                        :
The Coca-Cola Company,                                                  :
One Coca-Cola Plaza,                                                    :
Atlanta, Georgia 30313                                                  :
                                                                        :
and                                                                     :
                                                                        :
Pepsico, Inc.                                                           :
700 Anderson Hill Road,                                                 :
Purchase, New York 10577                                                :
                                                                        :
and                                                                     :
                                                                        :
General Mills, Inc.,                                                    :
Number One General Mills Boulevard,                                     :
Minneapolis, Minnesota 55426                                            :
                                                                        :
and                                                                     :
                                                                        :
      Case 2:25-cv-00377-MRP                 Document 1-5           Filed 01/22/25   Page 10 of 29




Nestle USA, Inc.,                                                       :
812 N. Moore Street,                                                    :
Arlington, Virginia, 22209                                              :
                                                                        :
and                                                                     :
                                                                        :
                                                                        :
Kellanova,                                                              :
412 N. Wells Street,                                                    :
Chicago, Illinois 60654                                                 :
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and                                                                     :
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WK Kellogg Co.,                                                         :
One Kellogg Square,                                                     :
Battle Creek, Michigan 49017                                            :
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and                                                                     :
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Mars Incorporated, Inc.,                                                :
6885 Elm Street,                                                        :
McLean, Virginia 22101                                                  :
                                                                        :
and                                                                     :
                                                                        :
Conagra Brands, Inc.,                                                   :
222 W. Merchandise Plaza, Suite 1300,                                   :
Chicago, Illinois 60654                                                 :
                                             Defendants.                :
------------------------------------------------------------------------x



        Defendant PepsiCo, Inc. hereby consents to the removal of the above-captioned action to

the United States District Court for the Eastern District of Pennsylvania filed by Defendant, The




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     Case 2:25-cv-00377-MRP        Document 1-5      Filed 01/22/25       Page 11 of 29




Kraft Heinz Company (incorrectly named as “Kraft Heinz Company, Inc.”).


Dated: January 21, 2025                  DECHERT LLP

                                         /s/ Hope S. Freiwald   _____
                                         Hope S. Freiwald (PA Bar No. 61087)
                                         2929 Arch Street
                                         Philadelphia, PA 19104
                                         Telephone: (215) 994-2514
                                         Email: hope.freiwald@dechert.com


                                         Attorneys for Defendant, PepsiCo, Inc.




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     Case 2:25-cv-00377-MRP             Document 1-5        Filed 01/22/25       Page 12 of 29




UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------------------x
Bryce Martinez,                                                         :
                                                                        :
                                             Plaintiff,                 : Civil Action No._______
                                                                        :
v.                                                                      :
                                                                        :
Kraft Heinz Company, Inc.,                                              :
One PPG Place,                                                          :
Pittsburgh, Pennsylvania 15222                                          :
                                                                        : CONSENT TO REMOVAL
and                                                                     :
                                                                        :
Mondelez International, Inc.,                                           :
906 West Fulton Market, Suite 200,                                      :
Chicago, Illinois 60607                                                 :
                                                                        :
and                                                                     :
                                                                        :
Post Holdings, Inc.,                                                    :
2503 S. Hanley Road,                                                    :
St. Louis, Missouri 63144                                               :
                                                                        :
and                                                                     :
                                                                        :
The Coca-Cola Company,                                                  :
One Coca-Cola Plaza,                                                    :
Atlanta, Georgia 30313                                                  :
                                                                        :
and                                                                     :
                                                                        :
Pepsico, Inc.                                                           :
700 Anderson Hill Road,                                                 :
Purchase, New York 10577                                                :
                                                                        :
and                                                                     :
                                                                        :
General Mills, Inc.,                                                    :
Number One General Mills Boulevard,                                     :
Minneapolis, Minnesota 55426                                            :
                                                                        :
and                                                                     :
                                                                        :
Nestle USA, Inc.,                                                       :
      Case 2:25-cv-00377-MRP       Document 1-5   Filed 01/22/25   Page 13 of 29




812 N. Moore Street,                                :
Arlington, Virginia, 22209                          :
                                                    :
and                                                 :
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                                                    :
Kellanova,                                          :
412 N. Wells Street,                                :
Chicago, Illinois 60654                             :
                                                    :
and                                                 :
                                                    :
WK Kellogg Co.,                                     :
One Kellogg Square,                                 :
Battle Creek, Michigan 49017                        :
                                                    :
and                                                 :
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Mars Incorporated, Inc.,                            :
6885 Elm Street,                                    :
McLean, Virginia 22101                              :
                                                    :
and                                                 :
                                                    :
Conagra Brands, Inc.,                               :
222 W. Merchandise Plaza, Suite 1300,               :
Chicago, Illinois 60654                             :
                                   Defendants.      :




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      Case 2:25-cv-00377-MRP                 Document 1-5           Filed 01/22/25   Page 14 of 29




------------------------------------------------------------------------x

        Defendant General Mills, Inc. hereby consents to the removal of the above-captioned

action to the United States District Court for the Eastern District of Pennsylvania filed by

Defendant, The Kraft Heinz Company (incorrectly named as “Kraft Heinz Company, Inc.”).



                                            NELSON MULLINS RILEY & SCARBOROUGH LLP




                                            BY:

                                                     Tiffany M. Alexander, Esquire
                                                     PA ID: 88681
                                                     1000 Westlakes Drive, Suite 275
                                                     Berwyn, PA 19312
                                                     610-943-5351
                                                     Tiffany.alexander@nelsonmullins.com
                                                     Counsel for Defendant, General Mills, Inc.




Dated: January 22, 2025




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     Case 2:25-cv-00377-MRP             Document 1-5        Filed 01/22/25       Page 15 of 29




UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------------------x
Bryce Martinez,                                                         :
                                                                        :
                                             Plaintiff,                 : Civil Action No._______
                                                                        :
v.                                                                      :
                                                                        :
Kraft Heinz Company, Inc.,                                              :
One PPG Place,                                                          :
Pittsburgh, Pennsylvania 15222                                          :
                                                                        : CONSENT TO REMOVAL
and                                                                     :
                                                                        :
Mondelez International, Inc.,                                           :
906 West Fulton Market, Suite 200,                                      :
Chicago, Illinois 60607                                                 :
                                                                        :
and                                                                     :
                                                                        :
Post Holdings, Inc.,                                                    :
2503 S. Hanley Road,                                                    :
St. Louis, Missouri 63144                                               :
                                                                        :
and                                                                     :
                                                                        :
The Coca-Cola Company,                                                  :
One Coca-Cola Plaza,                                                    :
Atlanta, Georgia 30313                                                  :
                                                                        :
and                                                                     :
                                                                        :
Pepsico, Inc.                                                           :
700 Anderson Hill Road,                                                 :
Purchase, New York 10577                                                :
                                                                        :
and                                                                     :
                                                                        :
General Mills, Inc.,                                                    :
Number One General Mills Boulevard,                                     :
Minneapolis, Minnesota 55426                                            :
                                                                        :
and                                                                     :
                                                                        :
Nestle USA, Inc.,                                                       :
      Case 2:25-cv-00377-MRP       Document 1-5   Filed 01/22/25   Page 16 of 29




812 N. Moore Street,                                :
Arlington, Virginia, 22209                          :
                                                    :
and                                                 :
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Kellanova,                                          :
412 N. Wells Street,                                :
Chicago, Illinois 60654                             :
                                                    :
and                                                 :
                                                    :
WK Kellogg Co.,                                     :
One Kellogg Square,                                 :
Battle Creek, Michigan 49017                        :
                                                    :
and                                                 :
                                                    :
Mars Incorporated, Inc.,                            :
6885 Elm Street,                                    :
McLean, Virginia 22101                              :
                                                    :
and                                                 :
                                                    :
Conagra Brands, Inc.,                               :
222 W. Merchandise Plaza, Suite 1300,               :
Chicago, Illinois 60654                             :
                                   Defendants.      :




                                            2
      Case 2:25-cv-00377-MRP                 Document 1-5           Filed 01/22/25     Page 17 of 29




------------------------------------------------------------------------x

        Defendant Nestlé USA, Inc. hereby consents to the removal of the above-captioned action

to the United States District Court for the Eastern District of Pennsylvania filed by Defendant, The

Kraft Heinz Company (incorrectly named as “Kraft Heinz Company, Inc.”).



 Dated: January 21, 2025                                     Respectfully submitted,

                                                             /s/ Jasmeet K. Ahuja
                                                             Jasmeet K. Ahuja (PA ID 322093)
                                                             HOGAN LOVELLS US LLP
                                                             1735 Market Street, 23rd Floor
                                                             Philadelphia, PA 19103
                                                             T: (267) 675-4667
                                                             F: (267) 675-4601
                                                             jasmeet.ahuja@hoganlovells.com

                                                             Counsel for Defendant Nestlé USA, Inc.




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Docusign Envelope ID: F535BB7C-23DB-4F8C-A0EC-8ECC713D8062
                  Case 2:25-cv-00377-MRP              Document 1-5      Filed 01/22/25       Page 18 of 29




            UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
            ------------------------------------------------------------------------x
            Bryce Martinez,                                                         :
                                                                                    :
                                                         Plaintiff,                 : Civil Action No._______
                                                                                    :
            v.                                                                      :
                                                                                    :
            Kraft Heinz Company, Inc.,                                              :
            One PPG Place,                                                          :
            Pittsburgh, Pennsylvania 15222                                          :
                                                                                    : CONSENT TO REMOVAL
            and                                                                     :
                                                                                    :
            Mondelez International, Inc.,                                           :
            906 West Fulton Market, Suite 200,                                      :
            Chicago, Illinois 60607                                                 :
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            and                                                                     :
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            Post Holdings, Inc.,                                                    :
            2503 S. Hanley Road,                                                    :
            St. Louis, Missouri 63144                                               :
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            and                                                                     :
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            The Coca-Cola Company,                                                  :
            One Coca-Cola Plaza,                                                    :
            Atlanta, Georgia 30313                                                  :
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            and                                                                     :
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            Pepsico, Inc.                                                           :
            700 Anderson Hill Road,                                                 :
            Purchase, New York 10577                                                :
                                                                                    :
            and                                                                     :
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            General Mills, Inc.,                                                    :
            Number One General Mills Boulevard,                                     :
            Minneapolis, Minnesota 55426                                            :
                                                                                    :
            and                                                                     :
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            Nestle USA, Inc.,                                                       :
Docusign Envelope ID: F535BB7C-23DB-4F8C-A0EC-8ECC713D8062
                  Case 2:25-cv-00377-MRP              Document 1-5   Filed 01/22/25   Page 19 of 29




            812 N. Moore Street,                                       :
            Arlington, Virginia, 22209                                 :
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            and                                                        :
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            Kellanova,                                                 :
            412 N. Wells Street,                                       :
            Chicago, Illinois 60654                                    :
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            and                                                        :
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            WK Kellogg Co.,                                            :
            One Kellogg Square,                                        :
            Battle Creek, Michigan 49017                               :
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            and                                                        :
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            Mars Incorporated, Inc.,                                   :
            6885 Elm Street,                                           :
            McLean, Virginia 22101                                     :
                                                                       :
            and                                                        :
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            Conagra Brands, Inc.,                                      :
            222 W. Merchandise Plaza, Suite 1300,                      :
            Chicago, Illinois 60654                                    :
                                               Defendants.             :




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Docusign Envelope ID: F535BB7C-23DB-4F8C-A0EC-8ECC713D8062
                  Case 2:25-cv-00377-MRP               Document 1-5       Filed 01/22/25      Page 20 of 29




                     Defendant Kellanova hereby consents to removal of the above-captioned action to the

            United      States     District    Court         for   the   Eastern   District    of   Pennsylvania.



            Dated: January 22, 2025

                                                                   ___________________________________

                                                                   Michael Holecek (Pro Hac Vice forthcoming)
                                                                      mholecek@gibsondunn.com
                                                                   GIBSON, DUNN & CRUTCHER LLP
                                                                   333 South Grand Avenue
                                                                   Los Angeles, CA 90071-3197
                                                                   Telephone: (213) 229-7000

                                                                   Counsel for Kellanova




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     Case 2:25-cv-00377-MRP             Document 1-5        Filed 01/22/25       Page 21 of 29




UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------------------x
Bryce Martinez,                                                         :
                                                                        :
                                             Plaintiff,                 : Civil Action No._______
                                                                        :
v.                                                                      :
                                                                        :
Kraft Heinz Company, Inc.,                                              :
One PPG Place,                                                          :
Pittsburgh, Pennsylvania 15222                                          :
                                                                        : CONSENT TO REMOVAL
and                                                                     :
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Mondelez International, Inc.,                                           :
906 West Fulton Market, Suite 200,                                      :
Chicago, Illinois 60607                                                 :
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and                                                                     :
                                                                        :
Post Holdings, Inc.,                                                    :
2503 S. Hanley Road,                                                    :
St. Louis, Missouri 63144                                               :
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and                                                                     :
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The Coca-Cola Company,                                                  :
One Coca-Cola Plaza,                                                    :
Atlanta, Georgia 30313                                                  :
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and                                                                     :
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Pepsico, Inc.                                                           :
700 Anderson Hill Road,                                                 :
Purchase, New York 10577                                                :
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and                                                                     :
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General Mills, Inc.,                                                    :
Number One General Mills Boulevard,                                     :
Minneapolis, Minnesota 55426                                            :
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and                                                                     :
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Nestle USA, Inc.,                                                       :
      Case 2:25-cv-00377-MRP                 Document 1-5           Filed 01/22/25   Page 22 of 29




812 N. Moore Street,                                                    :
Arlington, Virginia, 22209                                              :
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and                                                                     :
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Kellanova,                                                              :
412 N. Wells Street,                                                    :
Chicago, Illinois 60654                                                 :
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and                                                                     :
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WK Kellogg Co.,                                                         :
One Kellogg Square,                                                     :
Battle Creek, Michigan 49017                                            :
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and                                                                     :
                                                                        :
Mars Incorporated, Inc.,                                                :
6885 Elm Street,                                                        :
McLean, Virginia 22101                                                  :
                                                                        :
and                                                                     :
                                                                        :
Conagra Brands, Inc.,                                                   :
222 W. Merchandise Plaza, Suite 1300,                                   :
Chicago, Illinois 60654                                                 :
                                             Defendants.                :
------------------------------------------------------------------------x

        Defendant WK Kellogg Co. hereby consents to removal of the above-captioned action to

the United States District Court for the Eastern District of Pennsylvania filed by Defendant, The




                                                         2
     Case 2:25-cv-00377-MRP        Document 1-5      Filed 01/22/25       Page 23 of 29




Kraft Heinz Company (incorrectly named as “Kraft Heinz Company, Inc.”).



                                                STAPLETON SEGAL COCHRAN LLC

Dated: January 22, 2025                            /s/ John S. Stapleton_______________
                                                John S. Stapleton, PA ID No. 200872
                                                1760 Market Street, Suite 403
                                                Philadelphia, PA 19103
                                                215.561.1500
                                                jstapleton@stapletonsegal.com

                                                Attorney for WK Kellogg Co.




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      Case 2:25-cv-00377-MRP                  Document 1-5           Filed 01/22/25      Page 24 of 29




UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------------------ x
Bryce Martinez,                                                          :

                                             Plaintiff,                      :   Civil ActionNo.

v.                                                                      :

Kraft Heinz Company, Inc.,                                              :
One PPG Place,                                                          :
Pittsburgh, Pennsylvania 15222                                          :
                                                                        : CONSENT TO REMOVAL
and                                                                     :

Mondelez International, Inc.,                                           :
906 West Fulton Market, Suite 200,                                      :
Chicago, Illinois 60607                                                 :

and                                                                     :

Post Holdings, Inc.,                                                    :
2503 S. Hanley Road,                                                    :
St. Louis, Missouri 63144                                               :

and                                                                     :

The Coca-Cola Company,                                                  :
One Coca-Cola Plaza,                                                    :
Atlanta, Georgia 30313                                                  :

and                                                                     :

Pepsico, Inc.                                                           :
700 Anderson Hill Road,                                                 :
Purchase, New York 10577                                                :

and                                                                     :

General Mills, Inc.,                                                    :
Number One General Mills Boulevard.                                     :
Minneapolis, Minnesota 55426                                            :

and                                                                      :

Nestle USA, Inc.,
      Case 2:25-cv-00377-MRP                 Document 1-5            Filed 01/22/25   Page 25 of 29




812 N. Moore Street,                                                    :
Arlington, Virginia, 22209                                              :

and                                                                     :

Kellanova,                                                              :
412 N. Wells Street,                                                    :
Chicago, Illinois 60654                                                 :

and                                                                     :

WK Kellogg Co.,                                                         :
One Kellogg Square,                                                     :
Battle Creek, Michigan 49017                                            :

and                                                                     :

Mars Incorporated, Inc.,                                                :
6885 Elm Street,                                                        :
McLean, Virginia 22101                                                  :

and                                                                     :

Conagra Brands, Inc.,                                                   :
222 W. Merchandise Plaza, Suite 1300,                                   :
Chicago, Illinois 60654                                                 :

                                             Defendants.                 :
------------------------------------------------------------------------ x

         Defendant Mars,Incorporated (incorrectly named as “Mars Incorporated, Inc.”) hereby

consents to removal of the above-captioned action to the United States District Court for the

Eastern District of Pennsylvania filed by Defendant The Kraft Heinz Company (incorrectly named

as “Kraft Heinz Company, Inc.”).




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    Case 2:25-cv-00377-MRP   Document 1-5   Filed 01/22/25   Page 26 of 29




Dated: January 22, 2025


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                                  Dane     tswinkas
                                  dbuts winkas@wc .com
                                  Williams & Connolly LLP
                                  680 Maine Avenue, S.W.
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                                  Fax: (202)434-5029




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     Case 2:25-cv-00377-MRP             Document 1-5        Filed 01/22/25       Page 27 of 29




UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA
------------------------------------------------------------------------x
Bryce Martinez,                                                         :
                                                                        :
                                             Plaintiff,                 : Civil Action No._______
                                                                        :
v.                                                                      :
                                                                        :
Kraft Heinz Company, Inc.,                                              :
One PPG Place,                                                          :
Pittsburgh, Pennsylvania 15222                                          :
                                                                        : CONSENT TO REMOVAL
and                                                                     :
                                                                        :
Mondelez International, Inc.,                                           :
906 West Fulton Market, Suite 200,                                      :
Chicago, Illinois 60607                                                 :
                                                                        :
and                                                                     :
                                                                        :
Post Holdings, Inc.,                                                    :
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                                                                        :
and                                                                     :
                                                                        :
The Coca-Cola Company,                                                  :
One Coca-Cola Plaza,                                                    :
Atlanta, Georgia 30313                                                  :
                                                                        :
and                                                                     :
                                                                        :
Pepsico, Inc.                                                           :
700 Anderson Hill Road,                                                 :
Purchase, New York 10577                                                :
                                                                        :
and                                                                     :
                                                                        :
General Mills, Inc.,                                                    :
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Minneapolis, Minnesota 55426                                            :
                                                                        :
and                                                                     :
                                                                        :
Nestle USA, Inc.,                                                       :
      Case 2:25-cv-00377-MRP                 Document 1-5           Filed 01/22/25   Page 28 of 29




812 N. Moore Street,                                                   :
Arlington, Virginia, 22209                                             :
                                                                       :
and                                                                    :
                                                                       :
Kellanova,                                                             :
412 N. Wells Street,                                                   :
Chicago, Illinois 60654                                                :
                                                                       :
and                                                                    :
                                                                       :
WK Kellogg Co.,                                                        :
One Kellogg Square,                                                    :
Battle Creek, Michigan 49017                                           :
                                                                       :
and                                                                    :
                                                                       :
Mars Incorporated, Inc.,                                               :
6885 Elm Street,                                                       :
McLean, Virginia 22101                                                 :
                                                                       :
and                                                                    :
                                                                       :
Conagra Brands, Inc.,                                                  :
222 W. Merchandise Plaza, Suite 1300,                                  :
Chicago, Illinois 60654                                                :
                                   Defendants.                         :

------------------------------------------------------------------------x




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     Case 2:25-cv-00377-MRP        Document 1-5       Filed 01/22/25     Page 29 of 29




       Defendant Conagra Brands, Inc. hereby consents to the removal of the above-captioned

action to the United States District Court for the Eastern District of Pennsylvania filed by

Defendant, The Kraft Heinz Company (incorrectly named as “Kraft Heinz Company, Inc.”).



                                          REED SMITH LLP



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                                          Attorneys for Defendant, Conagra Brands, Inc.




Dated: January 22, 2025




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